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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE


ELEIWA & SONS, INC.                          *
d/b/a BEAUTY SECRET                          *
a/k/a K & F BEAUTY SUPPLY,                   *
                                             *
       PLAINTIFF,                            *
                                             *
VS.                                          *              No.
                                             *
PEERLESS INDEMNITY INSURANCE                 *
COMPANY d/b/a MONTGOMERY                     *
INSURANCE COMPANY and/or                     *
d/b/a INDIANA INSURANCE                      *
COMPANY,                                     *
                                             *
       DEFENDANTS.                           *


                                   NOTICE OF REMOVAL



       Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant Peerless Indemnity Insurance

Company d/b/a Montgomery Insurance Company, and/or d/b/a Indiana Insurance Company 1 ,

hereby removes this action from the Circuit Court of Shelby County, Tennessee for the Thirtieth

Judicial District at Memphis to the United States District Court for the Western District of

Tennessee, stating as follows:

       1.      On or about January 16, 2009, a civil action was commenced by Plaintiff and is

pending in the Circuit Court of Shelby County, Tennessee, under the style Eleiwa & Sons, Inc.,

d/b/a Beauty Secret a/k/a K & F Beauty Supply vs. Peerless Indemnity Insurance Company d/b/a

Montgomery Insurance Company and/or d/b/a Indiana Insurance Company, Case No. CT-

000223-09.

1 Defendant states that Montgomery Insurance Company is not a legal entity or a “d/b/a” of any
other entity. Defendant states that Indiana Insurance Company is a separate legal entity with its
principal place of business in State of Indiana; however, as will be addressed in a future motion,
Indiana Insurance Company is not a proper party to the claims alleged in the Plaintiff’s
Complaint. Furthermore, the named Defendant-entities are not d/b/a’s of one another.
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        2.      The Plaintiff Eleiwa & Sons, Inc., d/b/a Beauty Secret a/k/a K & F Beauty Supply

alleges in the action that it is a citizen of Shelby County, Tennessee.2 (See Complaint ¶ 1;

attached hereto as Exhibit 1.)

        3.    Plaintiff’s Complaint asserts claims for Breach of Contract, Fraud and/or

Misrepresentation, violations of the Tennessee Consumer Protection Act, Bad Faith Refusal to

Pay Claim and Detrimental Reliance.

        4.      From the time of the commencement of this action to the present, Defendant

Peerless Indemnity Insurance Company was a corporation organized under the laws of the State

of Illinois with its principal place of business in Illinois; Indiana Insurance Company was a

corporation organized under the laws of the State of Indiana with its principal place of business

in Indiana. As stated above, Montgomery Insurance Company is not a legal entity; as such, it

has no state of incorporation or principal place of business.

        5.      For the reasons described below, this Court has original jurisdiction of the action

pursuant to 28 U.S.C. § 1332 because it is a civil action in which the amount in controversy

exceeds the sum of $75,000, exclusive of interest and costs, and because it is an action between

citizens of different states.

        6.      Defendant Peerless Indemnity Insurance Company was served with the Summons

and Complaint in this action on February 3, 2009. This Notice of Removal is therefore timely

under 28 U.S.C. § 1446. 3




2 Although not listed in the style of the case as a plaintiff, Khaled Eleiwa is referred to as a
plaintiff in the substance of the Complaint. It is alleged that Khaled Eleiwa is a resident of
Shelby County, TN.
3 Indiana Insurance Company was not separately-named in the Complaint and was not
individually served with the Complaint and Summons.


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   I.   THIS COURT HAS SUBJECT MATTER JURISDICTION PURSUANT TO
        28 U.S.C. §§ 1332 & 1441

        7.     This Court has subject matter jurisdiction over this action because (1) the amount

in controversy exceeds $75,000, exclusive of interest and costs and (2) there is complete

diversity between the Plaintiff and the Defendant.

   A. The Amount-in-Controversy Requirement is Satisfied

        8.     It is apparent on the face of the Complaint that the Plaintiff seeks an amount in

controversy in excess of $75,000, exclusive of interest and costs. In the Plaintiff’s prayer for

relief, the Plaintiff requests that it be awarded an amount “not less than $250,000.” The Plaintiff

also requests that it be awarded $1,000,000 in punitive damages, and it seeks treble damages

pursuant to the Tennessee Consumer Protection Act.

        9.     Aggregating all the Plaintiff’s claimed damages, it is facially apparent in this case

that the claimed amount in controversy exceeds $75,000, exclusive of interest and costs.

   B. There is Complete Diversity Between the Plaintiff and the Defendant

        10.    As stated above, Peerless Indemnity Insurance Company is a corporation

organized under the laws of Illinois with its principal place of business in Illinois; Indiana

Insurance Company is a corporation organized under the laws of Indiana with its principal place

of business in Indiana; and Montgomery Insurance Company is not a legal entity. Plaintiff is a

citizen of Tennessee. Accordingly, there is complete diversity between the Plaintiff and any

Defendant.

        11.    The subject action is a civil action of which this Court has jurisdiction pursuant to

the provisions of 28 U.S.C. § 1441 in that (a) the Plaintiff and Defendants are citizens of

different states; (b) no Defendant is a citizen of the state of Tennessee; (c) the amount in

controversy exceeds $75,000, exclusive of interest and costs; and (d) this action is within the


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original jurisdiction of the Court pursuant to the provisions of 28 U.S.C. § 1332.

       12.     Written notice of the filing of this Notice of Removal is being given to the

adverse party, and a Notice of Filing of this Notice of Removal is being filed with the Clerk of

the Circuit Court of Shelby County, Tennessee. A copy of the Notice of Filing of Notice of

Removal, excluding the exhibit (this Notice of Removal), is attached hereto as Exhibit 2.

       13.     By filing this Notice of Removal, no Defendant waives, either expressly or

implicitly, its right to assert any defenses that the Defendant could have asserted in the Circuit

Court of Shelby County, Tennessee.

       WHEREFORE, Defendant Peerless Indemnity Insurance Company d/b/a Montgomery

Insurance Company, and/or d/b/a Indiana Insurance Company respectfully removes this action

from the Circuit Court of Shelby County, Tennessee to this Court, pursuant to 28 U.S.C. § 1441.

                                             Respectfully submitted,


                                             BURCH, PORTER & JOHNSON,
                                             A Professional Limited Liability Company


                                             BY:     /s/ Melissa A. Maravich
                                                     Melissa A. Maravich #13876
                                                     John R. McCann MS #22914
                                                     130 North Court Avenue
                                                     Memphis, Tennessee 38103
                                                     T: (901) 524-5000
                                                     F: (901) 524-5024

                                             Counsel for Defendant

                                  CERTIFICATE OF SERVICE

       I hereby certify that I have forwarded a copy of the foregoing to Kevin Snider, Esq.,
Corporate Gardens, 9056 Stone Walk Place, Germantown, Tennessee 38138, via U.S. Mail,
postage prepaid this 19th day of February, 2009.


                                             /s/ Melissa A. Maravich
                                             Melissa A. Maravich



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